EXHIBIT A
 - 2023
68th Legislature 2023                                                                                                  SB0419




       AN ACT BANNING TIKTOK IN MONTANA; PROHIBITING A MOBILE APPLICATION STORE FROM

       OFFERING THE TIKTOK APPLICATION TO MONTANA USERS; PROVIDING FOR PENALTIES;

       PROVIDING FOR ENFORCEMENT AUTHORITY; PROVIDING DEFINITIONS; PROVIDING FOR

       CONTINGENT VOIDNESS; AND PROVIDING A DELAYED EFFECTIVE DATE.



               WHEREAS, the People's Republic of China is an adversary of the United States and Montana and has

       an interest in gathering information about Montanans, Montana companies, and the intellectual property of

       users to engage in corporate and international espionage; and

               WHEREAS, TikTok is a wholly owned subsidiary of ByteDance, a Chinese corporation; and

               WHEREAS, the People's Republic of China exercises control and oversight over ByteDance, like other

       Chinese corporations, and can direct the company to share user information, including real-time physical

       locations of users; and

               WHEREAS, TikTok gathers significant information from its users, accessing data against their will to

       share with the People's Republic of China; and

               WHEREAS, TikTok fails to remove, and may even promote, dangerous content that directs minors to

       engage in dangerous activities, including but not limited to throwing objects at moving automobiles, taking

       excessive amounts of medication, lighting a mirror on fire and then attempting to extinguish it using only one's

       body parts, inducing unconsciousness through oxygen deprivation, cooking chicken in NyQuil, pouring hot wax

       on a user's face, attempting to break an unsuspecting passerby's skull by tripping him or her into landing face

       first into a hard surface, placing metal objects in electrical outlets, swerving cars at high rates of speed,

       smearing human feces on toddlers, licking doorknobs and toilet seats to place oneself at risk of contracting

       coronavirus, attempting to climb stacks of milkcrates, shooting passersby with air rifles, loosening lug nuts on

       vehicles, and stealing utilities from public places; and

               WHEREAS, TikTok's stealing of information and data from users and its ability to share that data with

                                                                  -1-                    Authorized Print Version – SB 419

                                                                                                          ENROLLED BILL
 - 2023
68th Legislature 2023                                                                                                 SB0419


       the Chinese Communist Party unacceptably infringes on Montana's right to privacy; and

                WHEREAS, TikTok's continued operation in Montana serves as a valuable tool to the People's

       Republic of China to conduct corporate and international espionage in Montana and may allow the People's

       Republic of China to track the real-time locations of public officials, journalists, and other individuals adverse to

       the Chinese Communist Party's interests; and

                WHEREAS, TikTok's allowance and promotion of dangerous challenges threatens the health and

       safety of Montanans.



       BE IT ENACTED BY THE LEGISLATURE OF THE STATE OF MONTANA:



                Section 1.    Prohibition -- penalty -- enforcement -- definitions. (1) Tiktok may not operate within

       the territorial jurisdiction of Montana. An entity violates this prohibition when any of the following occurs within

       the territorial jurisdiction of Montana:

                (a)      the operation of tiktok by the company or users; or

                (b)      the option to download the tiktok mobile application by a mobile application store.

                (2)      An entity that violates a provision of this section is liable in the amount of $10,000 for each

       discrete violation and is liable for an additional $10,000 each day thereafter that the violation continues.

                (3)      It is an affirmative defense to this section if the violating entity could not have reasonably

       known that the violation occurred within the territorial jurisdiction of Montana.

                (4)      Penalties under this section do not apply to law enforcement activities, national security

       interests and activities, security research activities, or essential government uses permitted by the governor on

       the information technology system of the state.

                (5)      Penalties in this section do not apply to users of tiktok.

                (6)      The department of justice shall enforce the provisions of this section.

                (7)      As used in this section, the following definitions apply:

                (a)      "Discrete violation" means each time that a user accesses tiktok, is offered the ability to access

       tiktok, or is offered the ability to download tiktok.

                (b)      "Entity" means a mobile application store or tiktok.


                                                                 -2-                       Authorized Print Version – SB 419

                                                                                                           ENROLLED BILL
 - 2023
68th Legislature 2023                                                                                                     SB0419


               (c)      "Mobile application" means a type of software program designed to run on a mobile device.

               (d)      "Territorial jurisdiction" means all places subject to the criminal jurisdiction of Montana.

               (e)      "Tiktok" means the social networking service owned by the Chinese company bytedance

       limited or any successors.



               Section 2.     Codification instruction. [Section 1] is intended to be codified as an integral part of Title

       30, chapter 14, and the provisions of Title 30, chapter 14, applies to [section 1].



               Section 3.     Severability. Each part of [this act] is severable. If any part of [this act] is invalid, illegal, or

       unenforceable, all valid parts remain in effect. If a part of [this act] is invalid in one or more of its applications,

       only those applications may be void and the remaining valid applications remain in effect as severable from the

       invalid applications and parts.



               Section 4.     Contingent voidness. [This act] is void if tiktok is acquired by or sold to a company that is

       not incorporated in any other country designated as a foreign adversary in 15 C.F.R. 7.4 at the time tiktok is

       sold or acquired.



               Section 5.     Effective date. [This act] is effective January 1, 2024.

                                                                - END -




                                                                  -3-                       Authorized Print Version – SB 419

                                                                                                               ENROLLED BILL
I hereby certify that the within bill,

SB 419, originated in the Senate.




___________________________________________

Secretary of the Senate




___________________________________________

President of the Senate



Signed this _______________________________day

of____________________________________, 2023.




___________________________________________

Speaker of the House



Signed this _______________________________day
of____________________________________, 2023.
                                 SENATE BILL NO. 419

                              INTRODUCED BY S. VANCE



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